Case 3:18-cv-02615-JO-DEB Document 64 Filed 06/07/22 PageID.5252 Page 1 of 11
Case 3:18-cv-02615-JO-DEB Document 64 Filed 06/07/22 PageID.5253 Page 2 of 11
Case 3:18-cv-02615-JO-DEB Document 64 Filed 06/07/22 PageID.5254 Page 3 of 11
Case 3:18-cv-02615-JO-DEB Document 64 Filed 06/07/22 PageID.5255 Page 4 of 11
Case 3:18-cv-02615-JO-DEB Document 64 Filed 06/07/22 PageID.5256 Page 5 of 11
Case 3:18-cv-02615-JO-DEB Document 64 Filed 06/07/22 PageID.5257 Page 6 of 11
Case 3:18-cv-02615-JO-DEB Document 64 Filed 06/07/22 PageID.5258 Page 7 of 11
Case 3:18-cv-02615-JO-DEB Document 64 Filed 06/07/22 PageID.5259 Page 8 of 11
Case 3:18-cv-02615-JO-DEB Document 64 Filed 06/07/22 PageID.5260 Page 9 of 11
Case 3:18-cv-02615-JO-DEB Document 64 Filed 06/07/22 PageID.5261 Page 10 of 11
Case 3:18-cv-02615-JO-DEB Document 64 Filed 06/07/22 PageID.5262 Page 11 of 11
